
PER CURIAM.
As to the appeal of right based on the dissenting opinion, the members of the Court are equally divided. Therefore, those portions of the Court of Appeals opinion are affirmed without precedential value. See, e.g., Barham v. Hawk, 360 N.C. 358, 625 S.E.2d 778 (2006). The Court, however, unanimously concludes that the Court of Appeals erred in remanding the case to the trial court for entry of summary judgment in favor of plaintiffs on their non-constitutional claims. Accordingly, we reverse the Court of Appeals and remand to that Court for remand to the trial court for further proceedings on plaintiffs' non-constitutional claims. As to additional issues, discretionary review was improvidently allowed.
AFFIRMED IN PART; REVERSED IN PART AND REMANDED; DISCRETIONARY REVIEW IMPROVIDENTLY ALLOWED IN PART.
Justice HUDSON did not participate in the consideration or decision of this case.
